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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 UNITED STATES OF AMERICA

 v.                                                            CASE NO. 8:03-CR-0343-T-30EAJ

 GERALD WRIGHT
 ____________________________________/

                             REPORT AND RECOMMENDATION

        Before the court is Defendant’s Motion for Leave to Appeal In Forma Pauperis (Dkt.

 237).1 On August 2, 2010, Defendant moved for a sentence reduction pursuant to 18 U.S.C. §

 3582(c) and “Amendment 711 (invoking 706)” to the United States Sentencing Guidelines (Dkt.

 228). The District Judge denied that motion, noting that the court had previously denied a reduction

 (Dkt. 229). Defendant moved for reconsideration (Dkt. 230), but the District Judge denied that

 motion as well on October 4, 2010 (Dkt. 231).

        On November 17, 2010, Defendant moved the court to direct the Clerk to mail Defendant

 a copy of the order denying reconsideration, stating he was never served with the order and would

 move for permission to file an appeal out of time upon receiving a copy of it (Dkt. 232). The next

 day, noting that the docket reflected that a copy of the order had been mailed to Defendant on

 October 5, 2010, the District Judge granted the motion and directed the Clerk to mail Defendant

 another copy (Dkt. 233). On December 1, 2010, Defendant filed a notice of appeal as to the order

 denying his motion for a sentence reduction and/or the order denying his motion for reconsideration,

 reasserting his entitlement to a belated appeal because he did not receive a copy of the order denying

 reconsideration until the second copy was mailed (Dkt. 235).

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         Although Defendant has not actually filed a motion, Defendant’s affidavit of indigency is
 construed as a motion for leave to appeal in forma pauperis.
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         Pursuant to 28 U.S.C. § 1915(a)(1), a court may authorize the commencement of an appeal

 without prepayment of fees by a person who submits an affidavit demonstrating an inability to pay

 such fees. However,“the court shall dismiss [a] case at any time if the court determines that ... the

 action or appeal ... is frivolous or malicious.” 28 U.S.C. § 1915(e)(2)(B)(i).

         Defendant had fourteen days to file a notice of appeal once his motion for reconsideration

 was denied on October 4, 2010. See Fed. R. App. P. 4(b)(1)(A)(i); see also United States v. Vicaria,

 963 F.2d 1412, 1413-14 (11th Cir. 1992). Nonetheless, his notice of appeal was filed on December

 1, 2010, fifty-eight days later. Although Defendant maintains that he did not receive the first copy

 of the order, “the clerk’s failure to give notice does not affect the time to appeal, or relieve - or

 authorize the court to relieve - a party’s failure to appeal within the allowed time” except as provided

 in Fed. R. App. P. 4(b). Fed. R. Crim. P. 49(c). Even assuming Defendant showed excusable

 neglect or good cause, this court could extend the deadline for Defendant’s notice of appeal no more

 than thirty days. See Fed. R. App. P. 4(b)(4). Because Defendant’s notice of appeal was filed more

 than thirty days after Rule 4(b)’s fourteen-day deadline, the untimeliness of his appeal cannot be

 excused. See United States v. Millsap, 304 F. App’x 832, 834 (11th Cir. 2009) (per curiam)

 (unpublished). Thus, Defendant’s appeal should be dismissed as frivolous pursuant to 28 U.S.C. §

 1915(e)(2)(B)(i).

         Accordingly and upon consideration, it is RECOMMENDED that:

         (1)     Defendant’s Motion for Leave to Appeal In Forma Pauperis (Dkt. 237) be DENIED.

 Date: March 11, 2011




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                                       NOTICE TO PARTIES

         Failure to file written objections to the proposed findings and recommendations contained

 in this report within fourteen (14) days from the date of this service shall bar an aggrieved party from

 attacking the factual findings on appeal. See 28 U.S.C. § 636(b)(1).



 Copies to:
 Pro Se Defendant
 District Judge




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